                                                                                                                 FORM 1
                                              Case 18-32643-swe7   Doc 58
                                                              INDIVIDUAL    Filed
                                                                         ESTATE   03/31/22RECORD
                                                                                PROPERTY     Entered 03/31/22 11:39:24
                                                                                                 AND REPORT                                                                        Desc Main                           Page:       1
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                                                                                ASSET CASES
Case No:             18-32643       HDH     Judge: HARLIN D. HALE                                                                              Trustee Name:                       DANIEL J. SHERMAN, TRUSTEE
Case Name:           LARSON GROUP, LLC                                                                                                         Date Filed (f) or Converted (c):    08/06/18 (f)
                                                                                                                                               341(a) Meeting Date:                10/24/18
For Period Ending: 03/31/22                                                                                                                    Claims Bar Date:                    02/11/19



                                        1                                                    2                            3                          4                        5                                    6
                                                                                                               Estimated Net Value
                                                                                       Petition/          (Value Determined by Trustee,      Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                       Unscheduled            Less Liens, Exemptions,            Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                              Values                  and Other Costs)            OA=554(a) Abandon             the Estate

 1. CASH ON HAND                                                                            21,855.00                           21,855.00                                          21,855.00                     FA


 2. BANK OF AMERICA - CHECKING ACCOUNT                                                           119.00                           119.00                                                0.00                     FA
     BALANCE ON 07/31/2018 WAS -2,623.35
     BALANCE ON 08/06/2018 WAS $119.00 BUT ACCOUNT FROZEN


 3. ACCT. RECEIVABLE                                                                        65,620.00                           65,620.00                                          31,820.00                     FA
     A/R - OVER 90 DAYS OLD


 4. RAW MATERIALS                                                                           20,000.00                           20,000.00                                          16,471.90                     FA
     DIALS FOR ROLEX WATCHES; BAND FOR ROLEX WATCHES IN
     PIECES; ROLEX BOXES

                                                                                                                                                                                                  Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                        $107,594.00                         $107,594.00                                         $70,146.90                            $0.00
                                                                                                                                                                                                  (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   TFR IN PROCESS. ESTIMATED DATE OF CLOSING 04/15/2022


   Initial Projected Date of Final Report (TFR): 08/01/19           Current Projected Date of Final Report (TFR): 04/15/22




LFORM1                                                                                                                                                                                                                          Ver: 22.04a
